
Per. Cur.
The court is of opinion, that the judgment of the District Court is erroneous, in this. That they overruled the demurrer to evidence, after it had been joined by the parties, and set aside the proceedings, in the cause, subsequent to the issue, without the consent of the parties: Although the evidence on the part of Garland was fully set forth in the demurrer; and there does not appear to be any thing uncertain or doubtful in the evidence, so set forth, to prevent the court, from determining the sufficiency thereof, to maintain the issue joined. Therefore the judgment and proceedings, subsequent to the first verdict, are to be reversed and annulled, with costs: And this court, proceeding to give such judgment as the District Court ought to have given, is of opinion, that the evidence, stated in the demurrer, is not sufficient, in law, to maintain the issue joined on the part of Garland; but Knox is to go thereof, without day, and to recover his costs in that court also.
